            Case 1:22-mc-00014-JLS Document 4 Filed 08/05/22 Page 1 of 2




      Opprcn oF THE Enrn Couxry Drsrrucr ArroRNEy
JorrN J.   FrvNN                                                               Mrcnanr J. IGeNn
Drsrnrcr   ArronNpy                                                       Frnsr Dnpury Drsrnrcr ArronNry

                                                      August 5,2022



 HON. JOHN L. SINATRA, JR.
 LINITED STATES DISTzuCT JUDGE
 ROBERT H. JACKSON LINITED STATES COURTHOUSE
 2 NIAGARA SQUARE
 BUFFALO, NEW YORK 14202


                Re           In re Rule 45 Subpoena Issued to
                             Erie County District Attorney's Office
                             Dated June 7,2022
                             Case No. 22-MC-14 JLS

 Dear Judge Sinatra:

                 We are writing to advise the Court thatthe Cook County State Attorney's Office has
 y1t!{raw_n their subpoena dated June 7, 2022,which was the basis of tire motion to quash subpoena
 filed by the Erie County District Attorney's Office. Attached please find the letter from the Cook
 County State's Attorney dated July 20,2022 advising our office of the withdrawn subpoena.

                We thank the Court for his attention to this matter.

                                                     Very truly yours,

                                                     JOHN J. FLYNN
                                                     DISTRICT ATTORNEY



                                             By:       AUL     WILLIAMS,III
                                                     Assistant District Attorney
                                                     Chief, Appeals Bureau
                                                     Paul. Williams@erie. sov
PJWkad
Attachment
c: David A. Adelman, Esq




 25 Derawenr Avertup   '   BuFFALo, NBw Yonx .74202-3903. (716) 858-2424. Fex: (716) 858-7425. www.erie.gov
            Case 1:22-mc-00014-JLS Document 4 Filed 08/05/22 Page 2 of 2




                                 OFFICE OF THE STATE'S ATTORNEY
                                      cooK couNTY,           TLLINOTS

  KIMBERLY M. FOXX                                                              5OO   RICHARD J. DALEY CENTER
  STATE'S ATTORNEY                                                                      CHICAGO, ILLINOIS 60602
                                                                                                     (3r2) 603_5440

  DAVID A. ADELMAN                                                                         Direct: (3 I 2) 603-3 I 5 I
  ASSISTANT STATE'S ATTORNEY                                                    david.adelman@cookcountyil. gov
  SUPERVISOR, AFFIRMATIVE & COMPLEX LITIGATION SECTION
  CIVIL ACTIONS BUREAU


                                                July 20,2022

Via email:     aul.williamstO.erie-sov and lerrv-

Paul J. Williams III, Chief, Appeals
ADA Jerry Mari
Erie County District Attorney's Office
25 Delaware Avenue
Buffalo, NY 14202

R:ez   In Re Rule   45 Subpoena Issued to   Erie Countv District Attornev's Office Dated June 7,2022
Case    No. 1 :22-mc-00014-JLS

Counsel:

I tried reaching out but have not heard back. I was hoping we could try to reach an accommodation.
We disagree that production of documents would violate the language of the gag order and would not
constitute "extrajudicial statements". We appreciate the sensitivity of the ongoing prosecution and have
no desire to cause any embarrassment or public dissemination and, in fact, are trying to prevent further
violence by defending Cook County's ordinance.

Nevertheless, in light of NY PubOff $87(2)(a) and NY County $677(3Xb) which, as you pointed out,
exempts medical examiner records from disclosure, the Cook County State's Attorney's Office
withdraws its subpoena dated June 7,2022.

Neither I, nor anyone from my office, has filed an appearance in the above case. Please inform the court
the subpoena is withdrawn.

Thank you.
                                                Sincerely,

                                                KIMBERLY M. FOXX

                                       By:      /s/ David A. Adelman
                                                Assistant State's Attorney
                                                Supervisor, Affirmative & Complex Litigation Section
